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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                         Case No. 1:18-cv-22923-GAYLES/OTAZO-REYES
  JELEN CARPIO, as personal
  representative of the estate of
  DIOGENES CARPIO, Jr.,

                            Plaintiff,

  v.

  NCL (BAHAMAS) LTD.,
  D-I-DAVIT INTERNATIONAL, INC.,
  HATECKE SERVICE USA, LLC,

                    Defendants.
  ________________________________________/

                  ORDER ON NCL (BAHAMAS) LTD.’S MOTION TO DISMISS
                 THE AMENDED COMPLAINT AND COMPEL ARBITRATION

            THIS CAUSE comes before the Court on Defendant NCL (Bahamas), Ltd.’s (“NCL”)

  Motion to Dismiss and Compel Arbitration (“Motion”). [ECF No. 29]. The Court has reviewed

  the Motion and the record and is otherwise fully advised. For the reasons that follow, the Motion

  shall be granted in part.1

       I.   BACKGROUND

            Plaintiff, a Filipino citizen, brings this action on behalf of herself and as personal

  representative of the estate of her deceased husband, Diogenes Carpio, Jr., a Filipino citizen

  (“Decedent”). Decedent was a crewmember aboard NCL’s vessel, the Norwegian Breakaway on

  July 20, 2016. [ECF No. 22] at ¶¶ 14-15. At that time, he was assigned to conduct and assist

  lifeboat drills. Id. During one such drill, Decedent was boarding a lifeboat on Deck 7 of the


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    NCL alternatively argues that the Amended Complaint be dismissed for forum non conveniens. Because the Court
  finds that the Motion to Compel Arbitration is dispositive, it will not consider the parties’ forum non conveniens
  arguments.


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  vessel when it detached from the vessel causing Decedent to fall approximately six stories into

  the water where he drowned. Id. at ¶¶ 16-17. The terms of Decedent’s employment with NCL

  were governed by his Employment Agreement and a Collective Bargaining Agreement (“CBA”).

  Id. at ¶ 35. Each of these agreements required that all claims brought by, or on behalf of, the

  Decedent against NCL be submitted to binding arbitration in the Philippines. [ECF No. 38] at

  n.2.

         Plaintiff initiated arbitration proceedings in the Philippines. Id. at ¶¶ 5-6. Before a

  decision was rendered by an arbitrator, the parties agreed to settle the case. Pursuant to the

  Settlement Agreement, NCL compensated Plaintiff $130,000. In return, Plaintiff signed a release

  absolving NCL of all claims related to Decedent’s death and agreed to arbitrate any dispute

  regarding the settlement in the Philippines. The Settlement Agreement was approved by a Labor

  Arbitrator. Id. Plaintiff alleges that she had no legal counsel when she signed the Settlement

  Agreement and that NCL’s agent in the Philippines misrepresented Plaintiff’s rights to her.

         Defendant now files the instant Motion which seeks to compel binding arbitration in the

  Philippines. In response, Plaintiff asserts that the Settlement Agreement is a final judgment of the

  arbitrator and should be vacated as a matter of public policy.

   II.   LEGAL STANDARD

         The Court’s inquiry on a motion to Compel Arbitration under the Convention on the

  Recognition and Enforcement of Foreign Arbitral Awards (“The Convention,” 9 U.S.C. §§ 201-

  08 et seq.) is limited. Bautista v. Star Cruises, 396 F.3d 1289, 1294 (11th Cir. 2005). The Court




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  must compel arbitration “unless (1) the four jurisdictional prerequisites2 are not met; or (2) one

  of the Convention’s affirmative defenses applies.” Id. at 1295 (internal citations omitted). Article

  II of the Convention dictates that arbitration agreements must be enforced “unless the agreement

  is null and void, inoperative or incapable of being performed.” Lindo v. NCL (Bahamas), Ltd.,

  652 F.3d 1257, 1272 (11th Cir. 2011) (internal citations and quotations omitted). Further, the

  “null and void clause [is] confined to standard breach-of-contract defenses and the limited scope

  of the Convention’s null and void clause must be interpreted to encompass only those

  situations—such as fraud, mistake, duress, and waiver…” Id. (internal citations and quotations

  omitted). Lastly, under Article V of the Convention a district court may refuse an arbitral award

  at the post-arbitration award-enforcement stage where the court finds that enforcement of the

  award would be contrary to public policy. Id. At the arbitration-enforcement stage, the only

  challenge available to Plaintiff is whether the arbitration agreement is null and void. Escobar v.

  Cruise Operator, Inc., 805 F.3d 1279, 1288 (11th Cir. 2015) (holding that public policy

  arguments are only available at the arbitral award-enforcement stage and not the arbitration-

  enforcement stage).3

  III.    DISCUSSION

          Plaintiff does not dispute that the jurisdictional prerequisites to enforcement of arbitration

  agreements are met, nor does she dispute that she is bound by the agreements to arbitrate

  contained in the Employment Agreement and the CBA. [ECF No. 38] at n.2. Instead, Plaintiff


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    “(1) [t]here is an agreement in writing within the meaning of the Convention; (2) the agreement provides for
  arbitration in the territory of a signatory of the Convention; (3) the agreement arises out of a legal relationship,
  whether contractual or not, which is considered commercial; and (4) a party to the agreement is not an American
  citizen, or that the commercial relationship has some reasonable relation with one or more foreign states.” Bautista,
  396 F.3d at n.7.
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    During the arbitration-enforcement stage the district court decides whether to compel the action to binding
  arbitration pursuant the parties’ written agreement to arbitrate. The arbitral award-enforcement stage is a post-
  arbitration proceeding where the parties bring an action to enforce or void an arbitral award. Escobar, 805 F.3d at
  1288.

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  argues that the Settlement Agreement signed by the Labor Arbitrator constitutes final judgment

  of the arbitration proceeding which this Court should vacate as a matter of public policy. The

  Court declines to do so. It is clear from the parties’ briefs that the parties did not complete

  arbitration as they settled at the outset of the process. The Labor Arbitrator’s stamp of approval

  of the settlement is not a final judgment, rather, it is simply a settlement approval. The agreement

  and release do not contain any findings by the Labor Arbitrator such that the Court may analyze

  whether the arbitrator properly addressed the merits of Plaintiff’s claims.

         Because the Court finds that arbitration has not yet occurred, Article V’s public policy

  exception does not apply and this action is properly dismissed. Escobar, 805 F.3d at 1287. Even

  if the Court were to find that the Settlement Agreement is a final judgment of the arbitrator,

  Plaintiff has not shown that it is void as a matter of public policy. Plaintiff does nothing more

  than make broad statements that a purported NCL representative in the Philippines

  misrepresented Plaintiff’s rights to her, and that Plaintiff did not have legal representation at that

  meeting. [ECF No. 38] at 1-2. At no time does Plaintiff argue that she did not understand what

  she was signing. Ultimately, the thrust of Plaintiff’s public policy appeal is that seamen are

  wards of the court requiring protection. Id. at 8. To further her position, Plaintiff cites non-

  binding case law from the District of Maryland for the proposition that the Philippine arbitration

  award violates public policy because Plaintiff would unable to vindicate her Jones Act claims in

  arbitration. [ECF No. 38] at 8. This argument has been rejected multiple times by the Eleventh

  Circuit, most recently in Navarrete v. Silversea Cruises, Ltd., 620 Fed. App’x 793, 797-98 (11th

  Cir. 2015) (citing Lindo, 652 F.3d at 1276-77) (“holding that a seafarer’s assertion that the

  choice-of-law clause contained in his arbitration agreement would foreclose all meaningful relief




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  under U.S. statutory law was premature and provided no defense to the enforcement of an

  arbitration clause.”).

  IV.     CONCLUSION

          Plaintiff has not demonstrated that arbitration has been completed and is now ripe for

  post-arbitration review; nor has she demonstrated that the arbitration clauses contained in either

  the employment agreement or the collective bargaining agreement are subject to any affirmative

  defenses contained within the Convention.

          It is therefore

          ORDERED AND ADJUDGED that Defendant NCL (Bahamas) Ltd.’s Motion to

  Dismiss and Compel Arbitration is GRANTED.

          All claims in the Amended Complaint brought against NCL (Bahamas) Ltd. are

  DISMISSED without prejudice.

          DONE AND ORDERED in Chambers at Miami, Florida, this 9th day of January, 2019.




                                                      ________________________________
                                                      DARRIN P. GAYLES
                                                      UNITED STATES DISTRICT JUDGE




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